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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

KTM AG,                                                   )
                                                          )   Case No. 21-cv-1280
                  Plaintiff,                              )
                                                          )
                                                          )    Judge Gary S. Feinerman
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                  Defendants.                             )

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 57

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses with prejudice all causes of action in the complaint as to the Defendant identified below and in
Schedule A. No motions are pending relative to this Defendant. Each party shall bear its own attorney’s
fees and costs.
        No.       Defendant
        57        Newautoparts5

        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: July 20, 2021                     By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
                                                  Chicago, Illinois 60602
                                                  (312) 580-0100 Telephone
                                                  mhierl@hsplegal.com

                                                  Attorneys for Plaintiff
                                                  KTM AG
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 20, 2021.



                                                          s/Michael A. Hierl
